       Case 2:11-cr-00360-WBS Document 56 Filed 01/25/12 Page 1 of 2



 1   BENJAMIN WAGNER
     U.S. Attorney
 2   MICHELLE RODRIGUEZ
     Assistant U.S. Attorney
 3   501 I Street, 10th Floor
     Sacramento, California 95814
 4   Telephone: (916) 554-2700

 5

 6

 7

 8

 9                    IN THE UNITED STATES DISTRICT COURT

10                  FOR THE EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,               )   CR. NO. 11-360-WBS
12                                           )
                     Plaintiff,              )
13         v.                                )
                                             )   MOTION TO CONTINUE
14   DARRYL MELSON EVERETT,                  )   SENTENCING HEARING AND
                                             )   STATUS HEARING; AND
15                   Defendant.              )   PROPOSED ORDER
                                             )
16

17

18        HEREBY, plaintiff United States of America moves -- as to the

19   matter pertaining to defendant Everett only -- that (1) the

20   sentencing hearing and status hearing set for February 6, 2012 be

21   vacated; and (2) this Court schedule the hearings on February 13,

22   2012 at 9:30 a.m.    As regards these hearings, the United States

23   and defendant Everett have entered a stipulation resolving

24   sentencing issues between the parties and all extant charges

25   against the defendant.

26        HEREBY FURTHER, the undersigned counsel for the United States

27   certifies that she has spoken to defense counsel for the above

28   captioned defendant and said counsel has agreed to continue the

      MOTION AND (PROPOSED) ORDER                                         1
       Case 2:11-cr-00360-WBS Document 56 Filed 01/25/12 Page 2 of 2



 1   hearings for good cause and to ensure effective advocacy on behalf

 2   of his client, the above referenced defendant, and to allow the

 3   court to consider the stipulation of the parties.         The undersigned

 4   counsel is further aware that the United States Probation Officer

 5   assigned to the above referenced matter has no objection to the

 6   proposed continuance of the hearings.

 7

 8            1/23/2012
     DATED:                                  BENJAMIN WAGNER
 9                                           United States Attorney
                                             By:
10                                                /S/ Michelle Rodriguez

11                                           MICHELLE RODRIGUEZ
                                             Assistant U.S. Attorney
12

13                               *     *     *

14        IT IS SO ORDERED.

15

16   DATED:   January 24, 2012

17

18

19

20

21

22

23

24

25

26

27

28

      MOTION AND (PROPOSED) ORDER                                          2
